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                 Exhibit F
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                                   ARAO PURCHASES AND RESALES
                                Count One (Overt Acts 61-101) and Count Three

No.   Overt Firearm       Firearm                       Off-           Purchased by      Resold by
       Act Serial No.     Make/Model                   Roster             ARAO            ARAO


 1     61   38SS05866     Colt 38 Model 02091            Yes             5/28/2015       9/23/2015

 2     62   38SS05851     Colt 38 Model 02091            Yes             5/28/2015       9/29/2015

 3     63   CMX0185       Colt 38 02991T                 Yes            10/28/2015      11/14/2015

 4     64   AZC0177       Colt 38 Model 02991AZC         Yes            10/28/2015      11/19/2015

 5     65   2928311       Colt 38 Model 02991            Yes            10/28/2015      11/28/2015

 6     66   38SS05839     Colt 38 Model 02091            Yes            10/22/2015       1/3/2016

 7     67   38SS05781     Colt 38 Model 02091            Yes            10/22/2015       1/4/2016

 8     68   38SS06349     Colt 38 Model 02091            Yes            10/22/2015       1/6/2016

 9     69   38SS06221     Colt 38 Model 02091            Yes            10/22/2015       1/16/2016

 10    70   ELCEN8545     Colt 38 Model 0207ELC2         Yes            11/12/2015       2/11/2016

 11    71   265LTD        Colt 38 Model 02091LTD         Yes            10/28/2015       2/18/2016

 12    72   2928424       Colt 38 Model 01991            Yes             2/15/2016       3/4/2016



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                                   ARAO PURCHASES AND RESALES
                                Count One (Overt Acts 61-101) and Count Three

No.   Overt Firearm       Firearm                       Off-           Purchased by      Resold by
       Act Serial No.     Make/Model                   Roster             ARAO            ARAO


 13    73   2872137       Colt 38 Model 01991SCP         Yes             3/4/2016        3/16/2016

 14    74   38SS06074     Colt 38 Model 02091            Yes            10/22/2015       3/28/2016

 15    75   38SS05430     Colt 38 Model 02091            Yes             2/15/2016       4/3/2016

 16    76   AZC0111       Colt 38 Model 02991AZC         Yes             3/10/2016       4/23/2016

 17    77   38SS05782     Colt 38 model 02091            Yes             5/3/2016        5/14/2016

 18    78   38SS05875     Colt 38 model 02091            Yes             5/3/2016        5/15/2016

 19    79   38SS05893     Colt 38 model 02091            Yes             5/3/2016        5/15/2016

 20    80   2839209       Colt 38 model 02991            Yes             5/3/2016        5/16/2016

 21    81   CMX0090       Colt 38 02991T                 Yes             3/10/2016       5/26/2016

 22    82   2839306       Colt 38 model 02991            Yes             5/3/2016        7/9/2016

 23    83   2933169       Colt 38 Model 02991            Yes             6/21/2016       7/9/2016

 24    84   38SS07723     Colt 38 model 02091            Yes             5/19/2016       7/24/2016



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                                   ARAO PURCHASES AND RESALES
                                Count One (Overt Acts 61-101) and Count Three

No.   Overt Firearm       Firearm                       Off-           Purchased by      Resold by
       Act Serial No.     Make/Model                   Roster             ARAO            ARAO


 25    85   2933163       Colt 38 Model 02991            Yes             6/21/2016       9/13/2016

 26    86   2933167       Colt 38 Model 02991            Yes             6/21/2016      10/15/2016

 27    87   ELCEN8707     Colt 38 Model 02071ELC2        Yes             2/15/2016       11/7/2016

 28    88   38SS07467     Colt 38 model 02091            Yes             5/19/2016      11/12/2016

 29    89   38SS07754     Colt 38 model 02091            Yes             5/19/2016      11/12/2016

 30    90   38SS07562     Colt 38 model 02091            Yes             5/19/2016      11/13/2016

 31    91   MHE135        Colt 38 Model 02991MHE         Yes             10/7/2016      11/16/2016

 32    92   38SS09110     Colt 38 Model 02091            Yes            11/17/2016      12/11/2016

 33    93   2933158       Colt 38 Model 02991            Yes             6/21/2016      12/12/2016

 34    94   38SS09149     Colt 38 Model 02091            Yes            11/17/2016      12/12/2016

 35    95   2933159       Colt 38 Model 02991            Yes             6/21/2016      12/16/2016

 36    96   38SS09144     Colt 38 Model 02091            Yes            11/17/2016      12/16/2016



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                                   ARAO PURCHASES AND RESALES
                                Count One (Overt Acts 61-101) and Count Three

No.   Overt Firearm       Firearm                       Off-           Purchased by      Resold by
       Act Serial No.     Make/Model                   Roster             ARAO            ARAO


 37    97   38SS09196     Colt 38 Model 02091            Yes            11/17/2016      12/16/2016

 38    98   38SS09317     Colt 38 Model 02091            Yes            11/17/2016      12/20/2016

 39    99   MHE175        Colt 38 Model 02991            Yes             10/7/2016       5/24/2017

 40   100   MHE340        Colt 38 Model 02991            Yes            10/21/2016       5/24/2017

 41   101   MHE098        Colt 38 Model 02991            Yes             7/16/2017       7/26/2017




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                                                EXHIBIT 11
